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 6
                                     UNITED STATES DISTRICT COURT
 7
                                   NORTHERN DISTRICT OF CALIFORNIA
 8
                                          SAN FRANCISCO DIVISION
 9

10
       IN RE: ROUNDUP PRODUCTS                          Case No. 3:16-md-02741-VC
11     LIABILITY LITIGATION
                                                        MDL No. 2741
12
       This document relates to:                        [PROPOSED] ORDER GRANTING
13                                                      PLAINTIFFS’ ADMINISTRATIVE
       Hardeman v. Monsanto Co., et al.,                MOTION TO FILE UNDER SEAL
14
       3:16-cv-0525-VC                                  PORTIONS OF EXHIBITS IN SUPPORT
15                                                      OF PLAINTIFFS’ OPPOSITION TO
       Stevick v. Monsanto Co., et al.,                 DEFENDANT MONSANTO’S
16     3:16-cv-2341-VC                                  (1) MOTION FOR SUMMARY
                                                        JUDGMENT RE: GROUP 1 PLAINTIFFS
17     Gebeyehou v. Monsanto Co., et al.,               ON NON-CAUSATION GROUNDS AND
       3:16-cv-5813-VC                                  (2) MOTIONS TO EXCLUDE THE
18
                                                        EXPERT TESTIMONY OF WILLIAM
19                                                      SAWYER, CHARLES BENBROOK, AND
                                                        JAMES MILLS
20

21          Before this Court is Plaintiffs’ Administrative Motion to File Under Seal Portions of Exhibits in
22   Support of Plaintiffs’ Opposition to Defendant Monsanto’s Motion for Summary Judgment regarding
23   Group 1 Plaintiffs on Non-Causation Grounds and Motions to Exclude Expert Testimony of William
24   Sawyer, Charles Benbrook, and James Mills. Having considered the papers, and for compelling reasons
25   shown, the Court hereby GRANTS Plaintiffs’ request and ORDERS the following documents and/or
26   portions of documents to remain redacted and confidentially filed under seal until further order of the
27   Court, with publicly filed versions redacted.
28
                                                                                    Case No. 3:16-md-02741-VC
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 1     1. Documents sought to be filed under seal by Defendant Monsanto Company, which were

 2        designated as “Confidential” by Monsanto when produced in response to Plaintiffs’ discovery

 3        requests pursuant to the Protective Order, filed December 9, 2016 (ECF No. 64), or Amended

 4        Protective Order, filed September 6, 2017 (ECF No. 519):

 5   Exhibit Document Title                                                  Page:Line
 6   4       Monsanto’s Response to Plaintiff Johnson’s Request for          5:11-6:3; 6:22-7:1; 12:26-
             Admissions, Set One                                             13:17
 7   8       MONGLY01314233, James M. Parry study Evaluation of the          Portions of pages 38-52
             Potential Genotoxicity of Glyphosate, Glyphosate mixtures
 8           and component surfactants
 9   11      MONGLY02067858, email and Powerpoint presentation by            Portion of page 2
             David Saltmiras titled: Glyphosate Toxocology Activities
10           Supporting Registration Reviews dated December 10, 2010
     23      MONGLY01594842, 2004 Product Safety Center –                    Portions of page 3
11           Toxicology Goals
     24      MONGLY00904009, email from William Heydens re:                  Portions of pages 2-4
12
             Scientific Outreach Council Meeting
13   25      MONGLY01312107, regarding involvement of Dr. Parry in           Portions of pages 3-5
             studies
14   26      MONGLY03734971, email from William Heydens re: Parry            Portions of page 2
             Report
15   27      MONGLY00878876, email from Donna Farmer re Micro-MN             Portions of pages 2-4; 6-7
16           units
     30      MONGLY01030787, email from William Heydens re 2015              Portions of pages 2-6
17           SRA Annual Meeting
     32      MONGLY01030799, email from John Acquavella re 2015              Portions of pages 2-4
18           SRA Annual Meeting
     33      MONGLY02078597, email from David Saltmiras re: IARC             Portions of pages 2-3
19
             Planning
20   35      MONGLY02117800, Monsanto Manuscript Clearance Form              Portions of page 2
             dated February 29, 2012
21   36      MONGLY02145917, email from Mattias Buelig re Genotox            Portions of pages 2-15
             Review dated July 19, 2012
22   37      MONGLY01228576, email from William Heydens re Post-             Portion of page 4
23           IARC Activities to Support Glyphosate dated May 11, 2015
     38      MONGLY00999487, email from William Heydens re                   Portions of pages 2-3
24           Glyphosate Expert Panel Manuscripts dated January 6, 2016
     39      MONGLY01183933, email from Donna Farmer re documents            Portions of pages 2-4
25           for the Animal Bioassay Expert Group dated August 7, 2015
     40      MONGLY01000676, email from William Heydens re                   Portions of pages 2-3
26
             Summary Article dated February 9, 2016
27   41      MONGLY01041641, email from Ashley Roberts re                    Portion of page 2
             Genotoxicity Panel Final Manuscript dated January 21, 2016
28
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     42      MONGLY03555680, email from Khue Nguyen re Review and          Portions of pages 3-6
 1           Comparison to IARC Assessment dated July 25, 2016
 2   43      MONGLY02359008, email from Ashley Roberts re                  Portions of pages 2-6
             Declaration of interest dated May 9, 2016
 3   44      MONGLY02932440, email from John Acquavella re NHL             Portion of page 3
             Abstract dated May 12, 2000
 4   46      MONGLY00890492, email from Donna Farmer re McDuffee           Portion of page 4
             article dated November 29, 2001
 5
     47      MONGLY06262795, email from John Acquavella re article re      Portions of pages 2-3
 6           NHL and Glyphosate dated September 2, 2003
     49      MONGLY06253165, Powerpoint presentation by Mark               Portion of page 2
 7           Martens titled Surfactant Toxicology
     50      MONGLY01192115, email from Donna Farmer re Roundup            Portions of pages 2-4
 8
             article in Fremantle Herald dated September 21, 2009
 9   51      MONGLY02062439, email from Richard Garnett re KP              Portions of pages 2-3
             conversation on POEA dated February 1, 2010
10   53      MONGLY00989918, email from William Heydens re IARC            Portions of pages 2
             Evaluation of Glyphosate dated October 15, 2014
11   54      MONGLY02913526, Monsanto Draft Glyphosate: IARC               Portions of pages 2-3
12           document dated February 23, 2015
     55      MONGLY07107482, email from Jim Ross re CA and                 Portion of page 2
13           Glyphosate dated September 9, 2015
     57      MONGLY00987755, email from William Heydens re                 Portions of pages 3-4
14           Glyphosate IARC Question dated April 28, 2015
     58      MONGLY03293245, Monsanto email re Genotox Review              Portions of pages 2-11
15
     59      MONGLY03293245, email re Jim Jones discussion                 Portions of pages 2-11
16   60      MONGLY02682357, email from Shawn Schrader re 2014             Portions of pages 2,5-7,
             Annual Adverse Effects Reporting Notification dated January   9-13, and 15
17           22, 2015
     72      Expert Report of William Sawyer, Ph.D. in the MDL 2741        Portion of pages 26-27,
18           Group 1 Cases                                                 35-37, 41-43, 47-48, 62,
19                                                                         64-66, 99-105, and 114-
                                                                           115
20   76      MONGLY01075506, Monsanto Summary and Hazard                   Entire document
             Assessment for Glyphosate
21   77      Expert Report of William Sawyer, Ph.D. in the Johnson v.      Entire document
             Monsanto Case (CGC-16-550128) case
22
     88      Expert Report of Charles Benbrook, Ph.D. in the MDL 2741      Portions of paragraphs
23           Group 1 Cases                                                 417-418, 420, 426, 428;
                                                                           all of paragraph 637.
24   89      Deposition Transcript of Charles Benbrook (Condensed), Part   82:15-16; 163:11-23;
             1, dated February 8, 2018
25   90      Deposition Transcript of Charles Benbrook (Condensed), Part   396:10; 417:25; 419:3;
26           2, dated February 9, 2018                                     419:8; 445:5; 457:15;
                                                                           459:18; 460:13; 465:14;
27                                                                         466:7; 490:7-8; 490:10;
                                                                           585:3; 645:8-9; 645:21.
28
                                           -3-                  Case No. 3:16-md-02741-VC
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 1

 2    2. Documents sought to be filed under seal by Plaintiffs, containing confidential information
 3        regarding Group 1 plaintiffs’ medical conditions and/or other personally identifiable information.
 4
     Exhibit Document Title                                                      Page:Line
 5   71       Excerpts of the Deposition Transcript of William Sawyer,           22:23-23:20; 26:2-27:8;
 6            Ph.D. given in the Stevick case dated December 20, 2018            29:9-29:25; 45:20-25;
                                                                                 48:25-53:21; 88:23-
 7                                                                               93:25; 112:19-113:25;
                                                                                 119:17-120:15; 123:20-
 8                                                                               124:21; 129:23; 132:9-
                                                                                 21; 190:12-191:15;
 9                                                                               192:13-197:25; 198:15-
10                                                                               200:5; 200:11-201:10;
                                                                                 201:21-25; 224:2-19;
11                                                                               238:1-240:21; 241:2-10;
                                                                                 248:22-249:20.
12
     72       Expert Report of William Sawyer, Ph.D. in the MDL 2741             Portion of pages 3, 6,
13            Group 1 Cases                                                      and 15

14

15

16
     IT IS SO ORDERED
17

18   DATE:
                                                        HONORABLE VINCE CHHABRIA
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                                                        UNITED STATES DISTRICT COURT
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                                           -4-                  Case No. 3:16-md-02741-VC
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